                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


THOMAS HOLLOWAY,                                 )
                                                 )
        Plaintiff,                               )
                                                 )        NO. 3:23-cv-00038
v.                                               )        JUDGE RICHARDSON
                                                 )
WILLIAM LEE, et al.,                             )
                                                 )
        Defendants.                              )


                                             ORDER

       Pending before the Court is Plaintiff’s motion for a preliminary injunction (Doc. No. 13,

“Motion”), supported by a memorandum (Doc. No. 14, “Memorandum in Support of the Motion”).

Via the Motion, Plaintiff asks this Court to issue a preliminary injunction prohibiting Defendants

and their officers, directors, agents, servants, representatives, attorneys, employees, subsidiaries

and affiliates, and those persons in active concert or participation with them from:

       (1) Enforcing Tennessee’s Sex Offender and Violent Sex Offender Registration,

           Verification, and Monitoring Act (“SORA”) (T.C.A. § 40-39-201 et seq.) against

           Plaintiff;

       (2) Requiring Plaintiff to comply with any portion of SORA; and

       (3) Publishing Plaintiff’s information on the sex offender registry.

(Doc. No. 13 at 1). Defendant’s have filed a response (Doc. No. 21) indicating the Motion is

unopposed; however, Defendants maintain that SORA does not violate the Ex Post Facto Clause

but simultaneously recognize that Does #1-5 v. Snyder, 834 F.3d 696, 699 (6th Cir. 2016) is

governing precedent repeatedly relied upon by federal district courts in Tennessee in concluding

that SORA violates the Ex Post Facto Clause and granting preliminary and permanent injunctive



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relief to specific sexual offenders. See Craig v. Lee, No. 3:22-CV-00181, 2023 WL 2505896, at

*2 (M.D. Tenn. Mar. 14, 2023) (collecting cases granting preliminary injunctions); Does #1-9 v.

Lee, No. 3:21-CV-00590, 2023 WL 2335639, at *19 (M.D. Tenn. Mar. 2, 2023); Doe #11 v. Lee,

609 F.Supp.3d 578 (M.D. Tenn. 2022).1

        Based on the record as a whole and for good cause shown, including Defendants’ lack of

opposition, the Plaintiff’s Motion will be GRANTED. The Court finds:

        (1) Plaintiff has demonstrated that he is likely to succeed on the merits of his Ex Post Facto

Clause claim with respect to the retroactive requirements of SORA;

        (2) Plaintiff has demonstrated that he will suffer immediate and irreparable injury if

injunctive relief is not granted pending trial;

        (3) injunctive relief would not cause substantial harm to Defendants or any specifically

identified third parties; and

        (4) the public interest will not be harmed by injunctive relief pending trial.

        It is, therefore, ORDERED that, pursuant to Federal Rule of Civil Procedure 65,

Defendants and their officers, agents, employees, servants, attorneys, and all persons in active

concert or participation with them are hereby ENJOINED and RESTRAINED from the

following:

        (1) Enforcing Tennessee’s Sex Offender and Violent Sex Offender Registration,

        Verification, and Monitoring Act (“SORA”) (codified at Tenn. Code Ann. §§ 40-39-201

        to 40-39-218) against Plaintiff;

        (2) Requiring Plaintiff to comply with any portion of SORA; and



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  On March 24, 2023, Defendants filed a notice of appeal in another sexual offender case involving the
same or substantially similar legal issues. See Does #1-9 v. Lee, Case No. 3:21-cv-590 (M.D. Tenn.), appeal
filed, Case No. 23-5248 (6th Cir.).



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       (3) Publishing Plaintiff’s information on the sex offender registry.

       Defendants are FURTHER ORDERED to provide notice of this Order to their officers,

directors, agents, servants, representatives, attorneys, employees, and affiliates, and those persons

in active concert or participation with them. Defendants shall take whatever means are necessary

or appropriate to ensure proper compliance with this Order. The Court further finds that

Defendants are unlikely to incur more than minimal costs in complying with this preliminary

injunction. Accordingly, the Court finds, in its discretion, that it is unnecessary to require Plaintiff

to post security as a condition of obtaining injunctive relief. See Moltan Co. v. Eagle-Picher Indus.,

Inc., 55 F.3d 1171, 1176 (6th Cir. 1995). Plaintiff is thus excused from doing so. This preliminary

injunction is effective upon its issuance on April 4, 2023 at 5:00 p.m.

       Nothing herein shall be taken to suggest that Defendants have conceded any particular

litigation position in the future or have waived any right to defend any aspect of this case beyond

this preliminary injunction.

       IT IS SO ORDERED.




                                               ____________________________________
                                               ELI RICHARDSON
                                               UNITED STATES DISTRICT JUDGE




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